Case 2:03-Cr-20124-BBD Document 173 Filed 06/06/05 Page 1 of 2 Page|D 176

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

06/06/2005

CASE NO: 03-20124-D

USA vS.ANTONIO NEAL

SEALED DOCUMENT(S) FILED

DOCUMENT #173

 

sTRrCT COURT - WESTENR DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 173 in
case 2:03-CR-20124 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Honorable Bernice Donald
US DISTRICT COURT

